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                        Exhibit 4
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              HIGHLY CONFIDENTIAL: SUBJECT TO PROTECTIVE ORDER



                      IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF OHIO EASTERN DIVISION




   IN RE NATIONAL PRESCRIPTION
   OPIATE LITIGATION                         CASE NO. 1:17-MD-2804

                                             JUDGE POLSTER
   County of Summit, Ohio, et al.
                                             TRACK ONE CASES
   v.

   Purdue Pharma L.P., et al.


   The County of Cuyahoga

   v.

   Purdue Pharma L.P., et al.




                 EXPERT REPORT OF PROFESSOR MARGARET K. KYLE



                                    May 10, 2019
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         or did not say about Norco, and thus offers no evidence that these payments were unlawful.83 The
         U.S. Department of Health and Human Services (“HHS”) Office of the Inspector General (“OIG”)
         acknowledged in its April 2003 “Compliance Program Guidance for Pharmaceutical Manufacturers”
         that grants paid to speakers may be appropriate under certain conditions.84 The Pharmaceutical
         Research and Manufacturers of America (“PhRMA”) published a “code on relationships with U.S.
         healthcare professionals” effective July 2002, and it updated the code effective January 2009. The
         PhRMA code also permits “speaker programs and speaker training meetings” under certain
         conditions.85 The OIG states in its guidance that “the PhRMA Code…will substantially reduce the
         risk of fraud and abuse and help demonstrate a good faith effort to comply with the applicable federal
         health care program requirements.”86

(49)     Allergan promoted Kadian between 2009 and 2013 by detailing physicians. After the December 30,
         2008 Kadian acquisition closed, Allergan did not initially plan to detail Kadian to doctors.87 Only
         after Allergan discovered that other companies were telling prescribers and wholesalers that Kadian
         had been discontinued did Allergan decide that it might be worthwhile “to let physicians know that
         [the] product was still available.”88

(50)     The Kadian patent was set to expire in April 2010, which would invite generic entry, meaning that
         Kadian had a short remaining product life.89 According to Actavis’s CEO Doug Boothe, “[w]e had no
         aspirations that we were going to increase the scripts. We were trying to slow down the rate in which
         prescriptions stopped.”90 To that end, on May 1, 2009, Allergan hired a contract salesforce through
         Ventiv Commercial Services, LLC (“Ventiv”) to detail Kadian to prescribers.91 Allergan implemented
         a small, 18-member Kadian salesforce supervised by two managers called “regional business
         directors.”92 The salesforce’s goal was “to let prescribers know that the product was available and to


         83   Perri April 24 Dep. at 600:1–25; 602:17–603:16; 605:7–18; 605:23–606:12 (objections omitted).
         84   Office of Inspector General, U.S. Department of Health and Human Services, “Compliance Program Guidance for
              Pharmaceutical Manufacturers,” April 2003, p. 21, available at
              https://oig hhs.gov/fraud/docs/complianceguidance/042803pharmacymfgnonfr.pdf.
         85   PhRMA, “Code on Interactions with Healthcare Professionals,” revised July 2008 and effective January 2009, pp. 3, 9–
              10, available at https://www.acpe-accredit.org/pdf/Code%20on%20Interactions%20HC%20Professionals.pdf.
         86   Office of Inspector General, U.S. Department of Health and Human Services, “Compliance Program Guidance for
              Pharmaceutical Manufacturers,” April 2003, p. 31, available at
              https://oig hhs.gov/fraud/docs/complianceguidance/042803pharmacymfgnonfr.pdf.
         87   ALLERGAN_MDL_01190060 at -0060.
         88   Boothe Dep. at 175:8–176:4; Actavis “knew that Alpharma hadn’t been talking about the product for a while, the reps
              hadn’t been promoting Kadian” so Actavis’s “main goal was just to make prescribers aware … that Kadian was
              available.” See Deposition of Nathalie Leitch, January 22, 2019 [hereinafter “Leitch Dep.”] at 44:20–45:14.
         89   Leitch Dep. at 37:15–38:12.
         90   Boothe Dep. at 176:5–177:8.
         91   See Allergan’s Fourth Amended Objections and Responses to Plaintiffs’ Corrected Second Set of Interrogatories, In re
              National Prescription Opiate Litigation, MDL No. 2804, Case No. 17-md-2804 (N.D.Ohio Mar. 4, 2019.) pp. 35–38.
         92   Boothe Dep. at 176:5–177:8, 323:10–325:11; Leitch Dep. at 40:17–41:5.



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         provide information about the product.”93 The contract salesforce’s promotion was essentially an
         awareness campaign that attempted to stem the decline in Kadian prescribing.94

(51)     At the outset of detailing, Allergan used marketing materials that Alpharma had created.95 Then, on
         February 18, 2010, Allergan received a warning letter regarding those materials.96 As discussed in
         detail below, Allergan took prompt corrective action in response to the warning letter. As part of its
         response, Allergan hired a consultant named Jennifer Altier to create new marketing materials.97 Ms.
         Altier testified that, after the warning letter, Allergan “took a very conservative approach”;
         specifically, she described the marketing materials as a “colorful [package insert (“PI”)],” and she
         testified that they were “really just reflective of the information that was in the PI, sticking with the
         label, remaining within the FDA guidelines.”98 Professor Perri confirmed that numerous Kadian
         marketing materials contained statements taken directly from the FDA approval letter for Kadian and
         the Kadian PI.99 Those materials also were submitted to the FDA for its review prior to use.100

(52)     Professor Perri also admits that Kadian marketing materials show that sales representatives “were
         specifically directed to discuss safety considerations with prescribers during sales calls.”101 In fact,
         Professor Perri cites a presentation given at the 2011 National Sales Meeting for Kadian.102 That
         presentation contains a “Do’s” and “Don’ts” section. Under the “Do’s” section, Allergan instructed
         the sales representatives to “discuss safety considerations associated with Kadian with prescribers
         during sales calls,” and to “communicate the full indication for Kadian during discussions with
         prescribers.”103 Under the “Don’ts” section, Allergan instructed the sales representatives not to make
         comparative product claims or unsubstantiated efficacy claims: specifically, Allergan explained that
         there is no substantial evidence demonstrating that Kadian improves functioning or quality of life, and
         thus, the sales representatives were prohibited from making that kind of claim.104 Numerous Kadian
         training presentations include similar instructions.105

         93  Leitch Dep. at 61:5–10.
         94  Leitch Dep. at 100:1–19; See also Altier Dep. at 369:19–370:1; Leitch Dep. at 44:20–45:11;
             “Given patents for the product expire in April 2010, our strategy needed to be a greatly rationalized approach versus
             what Alpharma had done in the past.” See ALLERGAN_MDL_01692522 at 2522–2524.
         95 Leitch Dep. at 127:10–17.

         96 ALLERGAN_MDL_00795835 at -5835-5847; Altier Dep. at 83:5–14.

         97 Altier Dep. at 367:2–7.

         98 Altier Dep. at 94:22–95:9; See also Perri April 24 Dep. at 614:13–24.

         99 Perri Dep. at 581:10–596:4 (objections omitted).

         100 Boothe Dep. at 170:17–171:7.

         101 Perri Rep. ¶ 123.

         102 Perri Rep. fn 246.

         103 ACTAVIS0413281 at -3293.

         104 ACTAVIS0413281 at -3296.

         105
             See e.g., ALLERGAN_MDL_00405530 at -5566–5572;
             ALLERGAN_MDL_01199237 at -9247–9250;



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         the sales representatives were instructed to respond that they were permitted to provide information
         about Kadian, not to discuss other long-acting opioids135 As Professor Perri admits, many (if not all)
         of the statements in the Objection Handling Workshop come directly from the FDA approval letter
         for Kadian or the Kadian package insert (PI).136

(64)     Allergan recognized that its “targeting focus can’t be so narrow that we miss opportunities with
         targets who write a little Kadian BUT large amounts of morphine (i.e. morphine sulfate, Avinza).” 137
         Thus, Allergan decided to target high morphine and Avinza writers in addition to high generic
         morphine writers.138 In fact, Allergan hired additional representatives called “Area Business
         Specialists” who were specifically “charged with targeting high volume prescribers of generic
         morphine sulfate who are currently prescribing little to no Kadian and turning them into Kadian
         prescribers. This expansion is an extension of our overall strategy to capture prescriptions that might
         otherwise go to the generic product.”139

(65)     In sum, I am not aware of evidence that Allergan’s promotional focus was to start patients on Kadian
         who would not otherwise be prescribed an opioid.


         II.C.3. Kadian corrective action

(66)     On February 18, 2010, the FDA issued a warning letter to Allergan claiming that two Kadian
         promotional materials—a “Co-Pay Assistance Program brochure”140 and a “PK to PK Comparison
         Detailer”141—contained false or misleading information for allegedly (1) omitting and minimizing
         risk information, (2) broadening the Kadian indication and failing to state the full Kadian indication,
         (3) making unsubstantiated superiority claims, and (4) containing unsubstantiated effectiveness
         claims.142 Allergan took corrective action almost immediately after receiving the warning letter.
         Below I provide a timeline of events concerning Allergan’s response:

              February 19: Allergan forwarded the warning letter to the sales representatives instructing them
               to “immediately cease” disseminating these materials and to quarantine all Kadian promotional
               materials in the field until further notice because they too could contain messages similar to those

         135 See ALLERGAN_MDL_00405512.
         136 Perri Dep. at 581:10–596:4 (objections omitted).
         137 ALLERGAN_MDL_00402219 at 7.

         138 ALLERGAN_MDL_00402219 at 13; See also ALLERGAN_MDL_00397937 at 16 (noting that Actavis’s goal was to

             maximize Kadian sales “by converting high volume MS prescribers to Kadian.”); ACTAVIS0197924 at 34–35 (listing
             questions that the sales representatives to ask prescribers for purposes of obtaining switches from generic morphine and
             Avinza without making comparative product claims).
         139 ALLERGAN_MDL_00418998 at -8998.

         140 ALLERGAN_MDL_00440829.

         141
             ALLERGAN_MDL_01103851 at 3851–3852.
         142 ALLERGAN_MDL_00795835 at -5835-5847.




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        at issue in the warning letter. Promotion was permitted to continue, but all promotion had to be
        limited to the copay cards (without the brochure) and the Kadian PI.143

       February 21: Ventiv forwarded Allergan’s letter and the warning letter to the salesforce,
        instructing that the team may not use the Kadian promotional materials and explaining that all
        promotional materials—except the copay card itself and the Kadian PI—had to be held.144

       March 4: Allergan responded to the FDA warning letter, informing the FDA that the sales
        representatives were instructed to cease using materials containing the challenged statements and
        to return them to Allergan for destruction. Allergan also proposed a corrective-action plan, which
        included proposed “Dear Healthcare Professional” and “Dear Consumer” letters to be sent to
        those who had received the offending promotional materials.145
       March 9: Allergan instructed the Kadian sales representatives to return all promotional materials
        either in their possession or that could be obtained for destruction.146

       March 26: FDA responded to Allergan’s March 4 letter, generally agreeing with Allergan’s
        corrective-action plan and requesting that Allergan send the proposed “Dear Healthcare Letter” to
        anyone who could have received the Comparison Detailer.147

       April 9: Allergan responded to the FDA’s March 26 letter confirming that the “Dear Healthcare
        Letter” would be sent to any prescriber that could have been exposed to the Comparison Detailer.
        Allergan also recommended sending the “Dear Consumer” letters to patients directly or to
        physicians’ offices.148
       April 19: FDA responded to Allergan’s April 9 letter, requesting that Allergan deliver 100 copies
        of the “Dear Consumer” letter to prescribers and that physicians have these letters for 90 days.149

       May 3: Allergan responded to the FDA’s April 19 letter, agreeing to the FDA’s plan. Allergan
        also promised to call any prescribers not personally visited to see if the prescribers needed
        additional letters.150




  143 ALLERGAN_MDL_01869494; ALLERGAN_MDL_01869495; ALLERGAN_MDL_01869507.
  144 ALLERGAN_MDL_01869510 at 9510–9511;
      ALLERGAN_MDL_01869512;
      ALLERGAN_MDL_01869524.
  145 ALLERGAN_MDL_01396751.

  146 ALLERGAN_MDL_01436179.

  147 ALLERGAN_MDL_01866384.

  148 ALLERGAN_MDL_01399387.

  149
      ALLERGAN_MDL_01874806.
  150 ALLERGAN_MDL_01875958.




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       May 20: FDA responded to Allergan’s May 3 letter, requesting that Allergan “physically visit”
        each prescriber to set up a stand with the “Dear Consumer” letters, and to follow up with the
        prescribers by calling them each month for 90 days.151

       June 10: Allergan responded to the FDA’s May 20 letter, again agreeing to the FDA’s proposed
        plan and committing to personally visit roughly 10,000 prescriber offices and over 550
        pharmacies that had received copay materials from Allergan. Allergan would temporarily expand
        its sales team to accomplish this corrective action.152

       June 29: Allergan sent TMS Health a revised telemarketing script to account for the warning
        letter’s concerns.153

       July 6: FDA responded to Allergan’s June 10 letter, agreeing with Allergan’s plan regarding the
        “Dear Doctor” letter. FDA also agreed with Allergan’s intentions of mailing the “Dear Healthcare
        Professional” letter to those prescribers who might have received the Comparison Detailer.154

       July 7–8: Allergan trained new sales representatives with the corrected message.155 Training
        included presentations on the Kadian PI,156 Kadian marketing materials,157 objection handling,158
        and Kadian support programs.159

       July 16: Allergan responded to the FDA’s July 6 letter explaining that 7,163 physicians would be
        receiving “Dear Healthcare Professional” letters via mail.160
       August 4: FDA responded to Allergan’s July 16 letter, signing off on Allergan’s plan.161 In
        addition, Allergan conducted corrective-message training for its sales representatives.162
       August 10: Allergan informed Ventiv that, during the corrective-action period, the sales
        representatives were prohibited from making regular sales calls. Allergan further explained that it
        will be mailing a “Dear Healthcare Professional” letter to all healthcare professionals who
        potentially received the Comparison Detailer, and that the sales representatives would hand
        deliver copies of the “Dear Consumer” letter to prescribers and pharmacies that received the Co-



  151 ALLERGAN_MDL_01868671.
  152 ALLERGAN_MDL_01399410 at -9411.
  153 ALLERGAN_MDL_00436590.

  154 ALLERGAN_MDL_01869099.

  155 ALLERGAN_MDL_01897644.

  156 ALLERGAN_MDL_00405530 at -5530-5572.

  157 ALLERGAN_MDL_00435872.

  158 ALLERGAN_MDL_00405512.

  159 ALLERGAN_MDL_00405573.

  160 ALLERGAN_MDL_01237743 at -7743–7762.

  161
      ALLERGAN_MDL_01238281 at -8281–8284.
  162 ALLERGAN_MDL_01051295 at 1295–1333.




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        Pay Assistance Program brochure. To accomplish this corrective action, Allergan would hire an
        additional 175 temporary sales representatives.163

       August 18: Allergan finalizes the “Dear Healthcare Professional”164 and “Dear Consumer”165
        letters for submission to the FDA.

       August 19: Allergan and Ventiv conducted corrective-action rollout training for the salesforce.166

       August 23: The corrective-action campaign began. Sales representatives were prohibited from
        making regular sales calls during this time.167

       September 10: Although the sales representatives had nearly completed their corrective-action
        campaign, they were instructed not to resume promotion until Allergan gave permission.168

       September 26: Allergan informed the sales representatives that Kadian promotional activities
        were permitted to resume “only if you have completed dissemination of the corrective action
        materials to all of your targets.”169

       November 1: Allergan informed the FDA that it had completed disseminating the “Dear
        Healthcare Professional” and “Dear Consumer” letters and that the salesforce would be
        conducting follow-up calls to each prescriber and pharmacy.170




  163 ALLERGAN_MDL_01110478 at 0478–0480.
  164 ALLERGAN_MDL_01110407 at 0407–0413.
  165 ALLERGAN_MDL_01110403 at 0403–0406.

  166 ALLERGAN_MDL_00435497 at -5497–5526.

  167 ALLERGAN_MDL_01115903 at -5903–5910.

  168 ALLERGAN_MDL_01897894 at -7894.

  169 ALLERGAN_MDL_01419292 at -9292. (emphasis in original).

  170 ALLERGAN_MDL_02106570 at -6570.




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                   A. I really have no idea about whether such details exist. My model includes all
                   detailing over the period from 1995 to 2018 based on the instruction that I was given
                   to consider that unlawful.

                   Q. Okay. Without distinguishing between the quality or extent of those detailing
                   visits?

                   A. I do not distinguish among those details, no.181


         III.D. Allergan’s prescription opioids accounted for a fraction of 1% of
         all prescribed opioids
(77)     Kadian and Norco account for an extremely small share of opioid MMEs in Cuyahoga and Summit
         counties, and nationally. These small shares underscore the limited scope and magnitude of
         Allergan’s promotion of these two products. In Figure 6–Figure 8, I list by year the share of opioid
         MMEs associated with Kadian and Norco in Cuyahoga and Summit counties, and nationally,
         respectively. I exclude shares prior to 2009 for Kadian because Alpharma owned and promoted
         Kadian during that time. Allergan’s combined share of opioid MMEs over the time period from
         January 1997–April 2018 was approximately 0.27% in both Cuyahoga and Summit counties. This is
         slightly lower than in the rest of the nation, where Allergan’s combined share was 0.40%. In
         Cuyahoga and Summit counties, neither Kadian nor Norco accounted for more than 1% in any
         year.182 These figures are consistent with the analysis of Plaintiffs’ expert Dr. McCann, who
         calculates that Allergan shipments account for 0.00% of MMEs in Cuyahoga and Summit counties
         during the period 2006–2014.183




         181   Rosenthal May 4 Dep. at 217:20–218:14 (objections omitted).
         182 I limit my share analysis to 1997–2018 because data with prescriber location are unavailable prior to 1997.
         183   Second Supplemental Report of Craig J. McCann, April 15, 2019 at Appendix 1.



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          1997                                                   0.00%                            0.00%
          1998                                                   0.19%                            0.19%
          1999                                                   0.58%                            0.58%
          2000                                                   0.61 %                           0.61%
          2001                                                   0.19%                            0.19%
          2002                                                   0.19%                            0.19%
          2003                                                   0.13%                            0.13%
          2004                                                   0.09%                            0.09%
          2005                                                   0.09%                            0.09%
          2006                                                   0.06%                            0.06%
          2007                                                   0.04%                            0.04%
          2008                                                   0.03%                            0.03%
          2009                  0.94%                            0.02%                            0.96%
          2010                  0.72%                            0.02%                            0.74%
          201 1                 0.65%                            0.01 %                           0.66%
          2012                  0.13%                            0.01 %                           0.15%
          2013                  0.07%                            0.03%                            0.10%
          2014                  0.07%                            0.02%                            0.08%
          2015                  0.06%                            0.01 %                           0.08%
          2016                  0.06%                            0.01 %                           0.08%
          2017                  0.07%                            0.01 %                           0.08%
        1997-2017               0.20%                            0.06%                            0.26%
  Source: IQVIA Xponent (1997- 2007) and PlanTrak (2008--Apr 2018) data.




  184   I include in the denominator of my share calculations in Figures 6-8 the same opioid products that were analyzed by
        Professor Rosenthal, which I understand includes opioid products that were at any point classified as Schedule II, plus
        Butrans. Throughout this report, my references to "opioids" are limited accordingly unless otherwise noted. (In her
        report, Professor Rosenthal inco!l'ectly describes her limitation as including only "class II oral opioid products plus
        Butrans." However, her Appendix C tables and backup production clearly include non-oral opioids, such as Duragesic.)
        See Rosenthal Rep. Table C.5, C.6.



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      1997                                                   0.00%         0.00%
      1998                                                   0.17%         0.17%
      1999                                                   0.30%         0.30%
      2000                                                   0.17%         0.17%
      2001                                                   0.17%         0.17%
      2002                                                   0.18%         0.18%
      2003                                                   0.13%         0.13%
      2004                                                   0.08%         0.08%
      2005                                                   0.08%         0.08%
      2006                                                   0.06%         0.06%
      2007                                                   0.06%         0.06%
      2008                                                   0.04%         0.04%
      2009                   0.77%                           0.02%         0.79%
      2010                   0.76%                           0.02%         0.78%
      2011                   0.76%                           0.01 %        0.77%
      2012                   0.20%                           0.02%         0.21%
      2013                   0.14%                           0.03%         0.17%
      2014                   0.05%                           0.03%         0.08%
      2015                   0.02%                           0.02%         0.04%
      2016                   0.02%                           0.01 %        0.04%
      2017                   0.02%                           0.01 %        0.03%
    1997-2017                0.21%                           0.06%         0.27%
  Source: IQVIA Xponent (1997- 2007) and PlanTrak (2008--Apr 2018) data.




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       Figure 11: Kadian and Norco MM E's in the context of Professor Rosenthal's "maximum ... clinically
       justifiable" analysis




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                                            -   Actual   -   Predic1ed but-for   -   Actual Allergan


       Source: Rosenthal backup data.


(81)   Plaintiffs' models cannot credibly conclude that any portion of the alleged harms is attributed to
       Allergan considering Allergan's extremely small shar·e of all opioid MMEs, particularly in the context
       of the unquantified uncertainty sunounding the estimates offered by Plaintiffs' economic experts.
       Although Plaintiffs' economic experts have neglected to quantify this uncertainty, each of their
       estimates have errnr bounds that compound when they are multiplied together by Professor McGuire
       to calculate damages. Even a small level of uncert ainty would make it virtually impossible to discern
       whether Allergan's extremely small shar·e of all opioid MMEs caused any expansion in opioid
       prescribing.




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       IV. Plaintiffs have not shown that Allergan’s promotion
       expanded opioid prescribing, let alone improper prescribing
(82)   The causation and damages approach offered by Plaintiffs’ economic experts purportedly assesses the
       extent to which increases in manufacturer detailing resulted in additional prescribing. Professor
       Rosenthal explained this in her deposition:

                 Q. Does your model account for rivalrous marketing?

                 …

                 A. The aggregate model that I put forth is intended to essentially obscure the
                 rivalrous marketing, so to the extent that marketing only moves people from
                 hydrocodone to oxycodone or the other direction, whatever it is, that will show up as
                 a noneffect in my model. So I’m only looking at market expansion because the
                 question I care about is market expansion.189

       As further discussed below, although Professor Rosenthal claims that rivalrous marketing would
       show up as a “noneffect” in her model, the reality is that she applies the average effect of detailing to
       every manufacturer, regardless of whether all of their marketing was rivalrous or none of it was.
       Because Professor Rosenthal’s approach assumes that all detailing has the same incremental effect, it
       fails to consider whether some detailing (e.g., detailing associated with certain manufacturers,
       products, or types of products) had no effect on total prescribing or resulted in prescribers switching
       from opioids they were already prescribing. This has the effect of penalizing defendants whose
       marketing was primarily rivalrous. In this section, I demonstrate that Plaintiffs’ experts have failed to
       demonstrate that Allergan’s promotion expanded opioid prescribing because they have not accounted
       for the rivalrous nature of that promotion. I also analyze Ohio Automated Reporting Rx Reporting
       System (“OARRS”) data, which Plaintiffs’ economic experts have ignored, to demonstrate that
       prescriber- and patient-specific patterns of Kadian prescribing are consistent with rivalrous marketing
       and with providers exercising their clinical discretion. I demonstrate the following in this section:

            Professor Rosenthal’s models inappropriately assume that all manufacturer promotion equally
             impacted opioid prescribing.

            Allergan’s extremely low share and timing of opioid MMEs in Cuyahoga and Summit counties
             (i.e., less than 0.3% as listed in Figure 6 and Figure 7) demonstrate that Allergan’s promotion did
             not contribute materially to an overall increase in opioid prescribing.




       189   Rosenthal May 4 Dep. at 206:10–206:25 (objections omitted).



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            Allergan deposition testimony and contemporaneous sales documents reflect Allergan’s objective
             to take volume from competing products rather than to expand overall opioid prescribing.

            Provider-specific prescribing and detailing data for Kadian—data ignored by Plaintiffs’ economic
             experts—demonstrate that prescribers Allergan detailed in Cuyahoga or Summit counties
             routinely did not increase their Kadian prescribing relative to the level of Kadian prescribing prior
             to Allergan’s acquisition from Alpharma.

            Patient-level prescribing patterns for the Allergan-detailed prescribers I was able to identify in the
             Ohio Automated Reporting Rx Reporting System (“OARRS”) data for Cuyahoga and Summit
             counties reflect that they prescribed Kadian to only a small subset of their patients; that they
             typically prescribed only a few Kadian scripts per patient, in many instances at low MMEs per
             day; and that prescribers used discretion when prescribing Kadian, taking patient-specific
             characteristics into account.


       IV.A. Professor Rosenthal assumes that the promotion of all
       manufacturers, including defendants and non-defendants, equally
       impacted opioid prescribing
(83)   Professor Rosenthal’s direct model makes the untested assumption that the promotion of all
       manufacturers (both defendant and non-defendant) and of all types (using detailing as a proxy),
       whether lawful or allegedly unlawful, was equally persuasive to physicians to prescribe opioids. This
       assumption is inconsistent with Plaintiffs’ allegations regarding the allegedly deceptive practices of
       individual defendants described above, and the assumption is not supported by the literature on
       pharmaceutical promotion. For example:

            Berndt et al. (1995), cited by Professor Rosenthal, note that promotion can be industry expanding
             or rivalrous, and that the effect of marketing depends on market structure. Specifically, they find
             that order of entry effects are important, with a strong first-mover advantage. The promotional
             efforts of later entrants are more likely to be rivalrous, i.e., to substitute for existing products
             rather than to expand the market. It is therefore not appropriate to assume that all manufacturer
             promotion affected aggregate shipments in the same way.190

            Studies of the economics of advertising, including at least one authored by Professor Rosenthal,
             often use the theoretical model of Dorfman and Steiner (1954), who derive the optimal
             advertising to sales ratio as equal to the ratio of the elasticity of sales with respect to advertising
             and the elasticity of sales with respect to price.191 In her study, firms vary considerably in the ratio
       190 See Ernst R. Berndt, Linda Bui et al., “Information, Marketing, and Pricing in the U.S. Antiulcer Drug Market,”
           American Economic Review 85, no. 2 (1995), 100–105.
       191 Meredith B. Rosenthal, Ernst R. Berndt, Julie M. Donohue, “Demand Effects of Recent Changes in Prescription Drug

           Promotion,” in Frontiers in Health Policy Research, Vol. 6, eds. David M. Cutler and Alan M. Garber, 1–26



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             of advertising to sales. This implies that firms are also likely to differ in their elasticity of sales
             with respect to advertising (i.e., their advertising has differential effects on sales).

            Datta and Dave (2017), also cited by Professor Rosenthal, find that detailing affected brand-
             specific demand but had no impact on total demand for the class of drugs studied.192 This study
             used a much richer dataset than that used by Professor Rosenthal, which allowed the authors to
             control for other factors that affect prescribing behavior, such as physician characteristics, which
             Professor Rosenthal ignored.

(84)   Professor Rosenthal claims that her model allows for a recalculation of but-for harm if a defendant is
       exempted from liability because its messages were not found to be unlawful, but key assumptions—
       namely that all marketing regardless of type, content, or time period has the same impact on sales,
       and that all incremental sales are equally harmful—are still inherent in her calculations and are never
       tested. Rather, her sensitivities simply (1) apply the average effects from her aggregate direct model
       to every manufacturer regardless of the nature of its promotional activity relative to other
       manufacturers, and (2) scale those effects based on the manufacturer’s amount of detailing.193 This is
       inappropriate if detailing’s effects changed over time or differed across manufacturers or products.
       For example, for the first entrants, detailing may have expanded the market, while later entrants’
       efforts may have focused more on encouraging a doctor to use the specific opioid being detailed,
       rather than any opioid.194 This is also inappropriate if the products vary in the extent to which they are
       substitutable. Long-acting products are closer substitutes to other long-acting products than to short-
       acting products, for example.195 Detailing of a long-acting product is unlikely to affect prescriptions
       of long-acting opioids and short-acting opioids in the same way.

(85)   In past litigation, Professor Rosenthal has acknowledged the importance of differentiating promotion
       for different products and by different manufacturers in the same class, noting that promotion of one
       product has a positive effect on that products’ volume and a negative effect on competitor volume.
       For that reason, she included separate measures for different manufacturers’ promotion in those
       models (which she failed to do here).




           (Cambridge, MA: The MIT Press, 2003).
       192  See Rosenthal Rep. ¶ 34.
       193 Compounding these issues described above, Professor Rosenthal also inappropriately attributes products to Allergan in

           some time periods. For example, she inappropriately assigns Anexsia to Allergan. See Rosenthal Rep. Table C.6.
       194 See Ernst R. Berndt, Linda Bui et al., “Information, Marketing, and Pricing in the U.S. Antiulcer Drug Market,”

           American Economic Review 85, no. 2 (1995), 100–105.
       195 See e.g., Federal Trade Commission, “Analysis of the Agreement Containing Consent Order to Aid Public Comment,”

           In the Matter of King Pharmaceuticals, Inc. and Alpharma Inc., December 29, 2009; Respondent Impax Laboratories,
           Inc.’s Replies to Complaint Counsel’s Proposed Findings of Fact and Conclusions of Law, In the Matter of: IMPAX
           LABORATORIES, INC., February 13, 2018; ALLERGAN_MDL_00044009 at -4009–4021; PPLPC030000994661 at
           sheet Past 10 Yr Pdts Launch Aligned.



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                  The key explanatory variables include the level of spending on promotion, both for
                  Zyprexa and for the other atypical antipsychotics with which it competes, the prices
                  for Zyprexa and its competitors, as well as other market events including the entry
                  date of specific competitive atypical antipsychotics and the FDA warning in late
                  2003…Based on economic theory and evidence reviewed above, my central
                  hypothesis is that, all else equal, Zyprexa’s own marketing expenditures will increase
                  quantities sold while competitors’ marketing expenditures will decrease quantities
                  sold of Zyprexa.196

(86)   An important weakness of aggregate models such as those adopted here by Professor Rosenthal is that
       in using only variation over time in promotion and prescribing, estimation of manufacturer-specific
       detailing effects is challenging, if not impossible. In statistical terms, the model has too few degrees
       of freedom. It is preferable to start with a disaggregated model that exploits variation over time as
       well as across geography and/or products to test the assumption that manufacturers’ promotional
       efforts have identical effects. Professor Rosenthal fails to use the available disaggregated data on
       detailing and prescribing, such as by geography, manufacturer, product, and prescriber, to validate her
       assumptions. The literature also suggests that aggregate models yield different results from those that
       examine manufacturers separately. One study of pharmaceutical marketing concludes “the parameter
       estimates of the individual brand-level models are so different that pooling across brands, even within
       the same category, is inappropriate.”197


       IV.B. The expansion in opioid prescribing is not explained by
       prescribing of Allergan’s products
(87)   The scale and timing of Allergan product prescribing is inconsistent with Allergan promotion having
       contributed to an increase in overall opioid prescribing. The bars in Figure 12–Figure 14 show opioid
       MMEs dispensed annually from 1997–2017, segmented between Kadian and Norco and all other
       opioid products. I include separate figures for Cuyahoga and Summit counties and for the entire
       United States. In both these two counties and nationally, MMEs increase steadily from 1997 through
       2010, peak in 2011, and decline thereafter. MMEs associated with Allergan products, shown in
       yellow for Kadian and blue for Norco at the bottom of the figures, are barely visible.




       196 Exhibit E, Declaration of Meredith Rosenthal, Hood v. Eli Lilly & Co, No. 1:07-cv-00645-JBW-RLM, Dkt. 208-4, at

             4772 (E.D.N.Y Oct. 9, 2009) ¶ 36–38.
       197    Peter S. H. Lieflang and Jaap E. Wieringa, “Modeling the Effects of Pharmaceutical Marketing,” Marketing Letters 21,
             no. 2 (2010), 131.



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